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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 LATANYA BRIGGS,

 Plaintiff,                                           Case No. 1:16-cv-09362

 v.                                                   Honorable Judge John R. Blakey

 PROG LEASING, LLC d/b/a PROGRESSIVE
 LEASING, LLC,

 Defendant.

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        NOW COMES the Plaintiff, LATANYA BRIGGS (“Plaintiff”), by and through her

attorneys, SULAIMAN LAW GROUP, LTD., and, in support of her Notice of Voluntary

Dismissal without Prejudice, state as follows:

         Plaintiff, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

 voluntarily dismisses her claims against the Defendant without prejudice with leave to

 reinstate through September 13, 2017. After September 13, 2017, the dismissal shall become

 with prejudice, with each party to bear its own costs and attorney fees.

Dated: August 14, 2017

                                                     Respectfully Submitted,

                                                     /s/ Nathan C. Volheim
                                                     Nathan C. Volheim, Esq. #6302103
                                                     Counsel for Plaintiff
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